 Case 4:20-cv-00283-O Document 116 Filed 04/04/23                 Page 1 of 1 PageID 2223



                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION


  BRAIDWOOD MANAGEMENT                           §
  INC., et al.,                                  §
                                                 §
           Plaintiffs,                           §
                                                 §
  v.                                             §      Civil Action No. 4:20-cv-00283-O
                                                 §
  XAVIER BECERRA, et al.,                        §
                                                 §
                  Defendants.                    §

                         NOTICE OF DOCUMENT REPLACEMENT

       The Court docketed its Second Memorandum Opinion and Order on Remedies (ECF No.

113) on March 30, 2023. The Clerk of Court is directed to replace the original document to correct

grammatical errors found on pages 14 and 17.

 Page 14                                          Adding the omitted preposition “in”

 Page 17                                          Replacing “foregoing” with “forgoing”

       SIGNED this 4th day of April, 2023.



                                           _____________________________________
                                           Reed O’Connor
                                           UNITED STATES DISTRICT JUDGE
